               Case:19-03908-jtg     Doc #:380 Filed: 10/09/2020         Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


In re:
                                                             Chapter 11
CHHATRALA GRAND RAPIDS, LLC 1,                               Case No. 19-03908-jtg
                                                             Hon. John T. Gregg
      Debtor.                                                (Jointly Administered)
__________________________________________)


              LIQUIDATING TRUSTEE’S NOTICE OF PLAN EFFECTIVE DATE

         Homer W. McClarty, Liquidating Trustee in the above captioned matter, through his

counsel, Steinberg Shapiro & Clark, states as follows:

         1.     Pursuant to Section 21 of the Order Confirming Plan entered by the Court on May

8, 2020 [docket no. 359], the “[t]he Liquidating Trustee shall file with the Court a Notice of the

Plan Effective Date. The Notice shall be filed within three (3) days of the occurrence of the

Effective Date.”

         2.     Pursuant to Article I, Section 1.1 (39) of the reorganized Fourth Amended Debtors’

Joint Plan of Liquidation [docket no. 345] (hereafter the “Confirmed Plan”),

         “Effective Date” means 90 Days after all of the conditions specified in this Plan have
         been satisfied or waived by the Debtors (to the extent such conditions are subject to
         waiver).

         3.     Per the “Liquidating Trustee’s Notice of Satisfaction of Effective Date

Conditions” filed with the Court on September 17, 2020, all the conditions precedent to the

occurrence of the Effective Date were satisfied when the closing of the sale of substantially all of

the Debtors’ property occurred on July 9, 2020.




1
 The Debtors in these jointly administered proceedings are: Chhatrala Grand Rapids, LLC; and
Bhogal Enterprises, LLC, Case No. 19-03909.
            Case:19-03908-jtg       Doc #:380 Filed: 10/09/2020        Page 2 of 2




       4.     The ninety (90) day period after July 9, 2020 concluded on October 7, 2020.

       THEREFORE, and in accordance with Section 21 of the Order Confirming Plan entered

by the Court on May 8, 2020, Homer W. McClarty, Liquidating Trustee in the above-captioned

confirmed Chapter 11 proceedings files the present Notice of the Plan Effective Date.




                                                    STEINBERG SHAPIRO & CLARK

                                                     /s/ Mark H. Shapiro (P43134)
                                                    Attorneys for Liquidating Trustee
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Date: October 9, 2020                               shapiro@steinbergshapiro.com
